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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v                                                          Case No. 15-CR-20040
                                                           JUDITH E. LEVY
DERRICK WHITE – D1,                                        United States District Judge
LESHOUN BYRD – D2,
GREGORY JOHNSON – D3,
TASHUN WHITE – D6,

            Defendants.
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                      NOTICE TO APPEAR/SCHEDULING ORDER

        MOTIONS DUE BY: November 12, 2015

           The defendant is hereby notified to appear before the Judith E. Levy, United States
District Judge, at 200 East Liberty Street, Ann Arbor, MI 48104 for the following proceedings:

        PLEA HEARING/CUT-OFF: November 30, 2015 @ 12:00 p.m.

        FINAL PRETRIAL CONFERENCE: December 8, 2015 @ 1:00 p.m.

        JURY TRIAL: December 14, 2015 @ 8:30 a.m.



Dated: October 15, 2015                                    s/Judith E. Levy
       Ann Arbor, Michigan                                 JUDITH E. LEVY
                                                           United States District Judge

                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on October 15, 2015.

                                                    s/Felicia M. Moses
                                                    FELICIA M. MOSES
                                                    Case Manager
